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                      United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA

                                    (ATTACHMENT)

                                                        Civil Action No.   19cv1018 DMS LL


GLOBAL VENTU HOLDING B.V.,
Plaintiff

v.

ZEETOGROUP, LLC,
SAMPLES.COM, LLC, AND
TIBRIO, LLC
Defendants



ZEETOGROUP, LLC,
SAMPLES.COM, LLC, AND
TIBRIO, LLC
Cross-Complainants

v.

GLOBAL VENTU HOLDING B.V.,
ALEX ANDEBEEK, an individual;
and ROES 1 through 50, inclusive
Cross-Defendants
